       Case 8:13-cr-00144-CJC Document 60 Filed 10/30/20 Page 1 of 2 Page ID #:289



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 8                                  UNITED STATES DISTRICT COURT
 9                                 CENTRAL DISTRICT OF CALIFORNIA
10                                        SOUTHERN DIVISION
11     UNITED STATES OF AMERICA,                     ) Case No. SA CR 13-00144-CJC
12                           Plaintiff,                 ORDER OF DETENTION AFTER
                                                        HEARING [Fed. R. Crim. P. 32.1(a)(6);18
13                                                      U.S.C. . § 3143(a)]
                             ►~~
14
       EMMETT ADAME,
15
16                           Defendant.

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18            The defendant having been arrested in this District pursuant to a warrant issued by
19     the United States District Court for the Central District of California, for alleged violations
20     of the terms and conditions of his supervised release; and
21 I          The Court having conducted a detention hearing pursuant to Federal Rule of
~~~ Criminal Procedure 32.1(a)(6) and 18 U.S.C. § 3143(a),
23            The Court finds that:
24     A.     (X) The defendant has not met his burden of establishing by clear and convincing
25            evidence that he is not likely to flee if released under 18 U:S.C. § 3142(b) or (c). This
26            finding is based on:
~~~         Instant allegations.
      Case 8:13-cr-00144-CJC Document 60 Filed 10/30/20 Page 2 of 2 Page ID #:290



      B.   (X)The defendant has not met his burden of establishing by clear and convincing
               evidence that he is not likely to pose a danger to the safety of any other person or the
               community if released under 18 U.S.C. § 3142(b) or (c). This finding is based on:
            Instant allegations, criminalhistory.
            IT THEREFORE IS ORDERED that the defendant be detained pending further
 6    proceedings.
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 8    Dated:            ~ ~ 30 ~~-0
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                                                           United                 ate Judge
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